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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,               :
                                        :
      v.                                :       No. 1:21cr-00026-CRC
                                        :
CHRISTOPHER ALBERTS,                    :
    Defendant.                          :


                                       ORDER

      Upon Consideration of the Consent Motion to: (1) Vacate Trial Date, (2) to

Vacate the March 30, 2022, Status Hearing (10:00 a.m.), and (3) the filing of a Joint

Status Report on March 25, 2022, and the entire record in this case,

it is this ____ day of __________________________, 2022, hereby, ORDERED

      1. The July 25, 2022, trial date is vacated.

      2. The Court vacates Vacate the March 30, 2022, Status Hearing. (10:00 a.m.),

           and the filing of a Joint Status Report on March 25, 2022.

      3. The parties shall file a joint status report on or before May 9, 2022.




                              ________________________________
                              Judge,
                              U. S. District Court for the District of Columbia




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